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      UNITED STATES COURT OF INTERNATIONAL TRADE

     BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
__________________________________________
                                         )
DALIAN MEISEN WOODWORKING                )
CO., LTD.                                )
                                         )
                                         )
               Plaintiff,                )
                                         ) Court No. 20-00109
     v.                                  )
                                         )
UNITED STATES,                           )
               Defendant,                )
                                         )
_________________________________________)

                               ORDER

     Upon consideration of Plaintiff’s Comments in Opposition to the

Remand, and all other papers and proceedings, it is hereby:

     ORDERED that Plaintiff’s Comments in Opposition to the Final

Remand requesting further remand are GRANTED; and it is further

     ORDERED that this case is remanded to the U.S. Department of

Commerce in accordance with the Court’s decision.


  SO ORDERED.


  Date: ______________, 2022              __________________________
  New York, New York                      M. Miller Baker, Judge
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                                                      PUBLIC VERSION

      UNITED STATES COURT OF INTERNATIONAL TRADE

     BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
__________________________________________
                                         )
DALIAN MEISEN WOODWORKING                )
CO., LTD.                                )
                                         )
                                         )
               Plaintiff,                )
                                         ) Court No. 20-00109
     v.                                  )
                                         )
UNITED STATES,                           )
               Defendant,                )
                                         )
_________________________________________)

     PLAINTIFF’S COMMENTS IN OPPOSITION TO REMAND




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Dated: August 15, 2022
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                            GLOSSARY


 Abbreviation                          Term
    AFA                      Adverse Facts Available
    CEP                      Constructed Export Price
  Commerce                U.S. Department of Commerce
     CD            Confidential Record Document (Investigation)
  CONNUM                         Control Number
    Final         Wooden Cabinets and Vanities and Components
Determination   Thereof from the People’s Republic of China, 85 Fed.
                          Reg. 11953 (February 28, 2020)
Final Remand    Final Results of Redetermination Pursuant to Court
   Results                  Remand, dated June 6, 2022
    ILVQ           In Lieu of Onsite Verification Questionnaire
   ILVQR           In Lieu of Onsite Verification Questionnaire
                                     Response
  J&K GA                           J&K Georgia
  J&K IL                            J&K Illinois
  J&K NJ                          J&K New Jersey
    PD               Public Records Documents (Investigation)
   RCD                Remand Confidential Record Document
   RPD                   Remand Public Record Document
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                            INTRODUCTION

     On behalf of Dalian Meisen Woodworking Co., Ltd. (“Meisen” or

“Plaintiff”), and pursuant to this Court’s July 13, 2022 remand

Scheduling Order, ECF No. 85, we submit Plaintiff’s comments in

opposition to the Final Results of Redetermination Pursuant to Court

Remand (“Final Remand Results”), filed by the U.S. Department of

Commerce (“Commerce”) on June 6, 2022, ECF No. 79. Commerce filed

the administrative record for the Final Remand Results on June 17,

2022, ECF No. 82.1


                      SUMMARY OF ARGUMENT

     Having failed in its attempt to assign Meisen a margin based on

total AFA due to the false advertising discovered in the investigation,

Commerce has now resorted to a game of gotcha to find other reasons to

get to the same result. It has ignored the fact that Meisen’s has

seventeen U.S. affiliates, that are generally small cabinet retailers

making hundreds of thousands of transactions but with unsophisticated



1
  References to the administrative record for the Final Remand are
shown as “RCD” (confidential) and “RPD” (public). References to the
initial administrative record submitted to the Court on July 11, 2020,
ECF No. 25, are shown as “CD” (confidential) and “PD” (public).
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accounting systems, and has demanded a level of perfection in reporting

that is simply not realistic under the facts of this case. The question of

whether a respondent has cooperated to the “best of its ability” is case-

specific, and an AFA rate is not based on the conduct of a “hypothetical,

well-resourced respondent.” Nat'l Nail Corp. v. United States, 390 F.

Supp. 3d 1356, 1373 (June 12, ,2019). “{A} reviewing court must be able

to conclude that Commerce looked at the respondent's ability to comply

as well as its performance in complying.” Id.

     Commerce has also failed to allow Meisen an opportunity to

explain or correct the errors found in the In Lieu of Onsite Verification

Questionnaire (“ILVQ”), which is contrary to the terms of the statute

under 19 U.S.C. § 1677m(d). The courts have previously held that this

statutory requirement is not ambiguous. China Kingdom Imp. & Exp.

Co. v. United States, 31 C.I.T. 1329, 1344–45 (2007). Nor has

Commerce adequately explained why the errors found during

verification could not have been handled through the application of

partial facts available, with or without an adverse inference. Meisen

submitted thousands of pages of documentation and allocated

significant resources in an attempt to cooperate with Commerce


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throughout the investigation and the remand, but Commerce has

decided that it is reasonable to ignore all of that information and resort

to a total AFA margin that is not based on any of Meisen’s information.

For the reasons explained further below, the Court should again

remand this case to Commerce to provide Meisen with a fair

opportunity to obtain a company-specific margin.



                       STANDARD OF REVIEW

     The Court will hold unlawful agency determinations that are

“unsupported by substantial evidence on the record, or otherwise not in

accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i); Ausimont USA, Inc.

v. United States, 19 CIT 151, 157, 882 F. Supp. 1087, 1092 (1995).

Substantial evidence means that there is “more than a mere scintilla. It

means such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” Consol. Edison Co. v. NLRB, 305

U.S. 197, 229 (1938). The Court also reviews Commerce’s remand

redeterminations for compliance with the Court’s remand order.

Xinjiamei Furniture (Zhangzhou) Co. v. United States, 968 F. Supp. 2d

1255, 1259 (Ct. Int’l Trade 2014) (quoting Nakornthai Mill Public Co. v.


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United States, 587 F. Supp. 2d 1303, 1306 (Ct. Int’l Trade 2008).

      In judging the Department’s interpretation of a statute, the Court

does so under the framework established by Chevron U.S.A. Inc. v.

Natural Res. Def. Council, 467 U.S. 837, 842-43 (1984). Under Chevron,

the Court first asks whether Congress has directly spoken to the precise

question at issue. If Congress has done so, the inquiry ends; the Court

“must give effect to the unambiguously expressed intent of Congress.”

FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 132 (2000)

(quoting Chevron, 467 U.S. at 842-43). Commerce must act reasonably

and may not be arbitrary and capricious. See e.g., Changzhou Wujin

Fine Chem. Factory Co. v. United States, 701 F.3d 1367, 1374 (Fed. Cir.

2012) (“Commerce’s decision will be set aside if it is arbitrary and

capricious.”).


                             BACKGROUND

      A. The Court’s Remand Order and Findings

      The Court remanded Commerce’s Final Determination with

regard to its application of total adverse facts available (“AFA”) to

Meisen holding that Commerce’s reasons for rejecting the questionnaire

responses submitted by Meisen and relying on total AFA were beyond

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the agency’s statutory authority. See Dalian Meisen Woodworking Co.,

Ltd. v. United States, Court No. 20-00109, Slip Opinion 21-158 (CIT

November 18, 2021). The Court ordered that Commerce reconsider its

application of AFA to Meisen, including whether and to what extent it will use

Plaintiff’s submitted information in its antidumping calculations. Dalian Meisen

Woodworking Co., Ltd. v. United States, Court No. 20-00109, Order (CIT

November 18, 2021). The Court also ordered that, insofar as Commerce chooses

to use Plaintiff’s information, it must then undertake verification. Id.



      B. Commerce’s Final Remand Results

      After remand, Commerce issued four extensive supplemental questionnaires

to which Meisen timely responded. See Meisen’s Letters, REM 21-158 Third

Supplemental Section C Questionnaire, dated January 11, 2022 (RCD 3-19, RPD

11), Appx__; REM 21-158 Third Supplemental Section D Questionnaire, dated

January 19, 2022 (RCD 20-86, RPD 15-17), Appx__; REM 21-158 Third

Supplemental Section E Questionnaire, dated January 20, 2022 (RCD 87-96, RPD

18), Appx__; REM 21-158 Fourth Supplemental Section C Questionnaire, dated

February 14, 2022 (RCD 100-127, RPD 28-29), Appx__; REM 21-158

Supplemental Section C and D Questionnaire Response, dated February 16, 2022

(RCD 128-153, RPD 30), Appx__. Commerce issued a questionnaire in lieu of on-

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site verification to which Meisen also timely responded. See Meisen’s Letter, In

Lieu of Onsite Verification Questionnaire Response, dated March 9, 2022 (RCD

156-329, RPD 37), Appx__.

      Commerce then placed new factual information on the record

without revealing its purpose or relevance to Meisen or asking Meisen

any specific questions regarding the information. Memorandum, New

Factual Information, dated March 23, 2022 (RCD 334, RPD 44),

Appx__.     Meisen responded to the best of its ability by placing rebuttal

factual information on the record based on its interpretation of

Commerce’s intent. Meisen’s Letter, Comments on New Factual

Information, dated March 28, 2022 (RCD 339, RPD 48), Appx__. But

without explanation of why Commerce thought that the information

was relevant, the comments of Meisen were guesswork. Commerce

then put more new factual information on the record and explained that

it purported to show an affiliation between a company called [JK

Kitchen and Bath Orlando, Inc.], which was not reported as an affiliate

by Meisen. Memorandum, New Factual Information, dated March 31,

2022 (RCD 341, RPD 50), Appx__. Meisen subsequently placed rebuttal

factual information on the record demonstrating that no such affiliation


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exists. Meisen’s Letter, Comments on New Factual Information, dated

April 6, 2022 (RCD 343-346, RPD 54), Appx__.

     In its Final Remand Results, Commerce again assigned Meisen a

margin based on total AFA finding that the information provided by

Meisen could not be verified and was unreliable. As set out in the

Appendix to the Final Remand Results, Commerce classified the issues

into three categories:

  1) Commerce claims that Meisen failed to provide the following

     requested source documents to support its U.S. sales database:

         source documents to support its J&K GA Q&V reconciliation;

         source documents to support its J&K GA November 2018

           reconciliation;

         source documents to support its J&K IL October 2018

           reconciliation;

         source documents to substantiate the reported sales terms

           and freight expenses for five of six sales traces;

         source documents to demonstrate the reported destination of

           one of six sales traces; and




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      source documents to demonstrate the reported customer

        codes of one of six sales traces.

2) Commerce claims to have identified the following errors in

  Meisen’s ILVQR:

      incorrect destinations (i.e., ZIP codes reported in the field

        DESTU) for four of six sales traces and one of three

        CONNUM-specific reconciliations.

      incorrect consolidated customer codes;

      incorrect product characteristics for two of six sales traces

        and one of three CONNUM-specific reconciliations;

      incorrect entered values for three, or potentially four, of six

        sales traces;

      incorrect further manufacturing expenses for two of six sales

        traces; and

      incorrect date of shipment for one of six sales traces.

3) Commerce claims to have found other pervasive issues discovered

  in, or as a result of, Meisen’s ILVQR are the following:




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         Meisen incorrectly told Commerce that it was unable to

           report transaction-specific movement expenses, and,

           therefore, it relied on an allocation methodology

         Meisen incorrectly told Commerce that it was unable to

           report actual entered values of the merchandise sold by the

           J&K Companies, and, therefore, it relied on an alternative

           entered value reporting methodology; and

         Meisen failed to report at all of the affiliated entities

           involved in the sale and/or distribution of subject

           merchandise.

Final Remand Results at page 146-147.


                              ARGUMENT


     A. Commerce Improperly Resorted to the Use of Total Adverse
        Facts Available

     The Courts have held that “Commerce may apply facts available

whenever there is a gap in the record.” Huvis Corp. v. United States, 31

C.I.T. 1803, 1807 (2007). The U.S. Court of International Trade has

also held that any missing information must be necessary for the

Department’s determination. Clearon Corp. v. United States, 359 F.

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Supp. 3d 1344, 1359 (Ct. Int'l Trade 2019) citing 19 U.S.C. § 1677e(a)(1)

“(authorizing the use of facts available if ‘necessary information is not

available on the record’), (b) (authorizing use of adverse inferences).”

Moreover, the Department may apply adverse inferences only if it finds

that a party did not cooperate to the best of its ability:

     If the administering authority or the Commission (as the
     case may be) finds that an interested party has failed to
     cooperate by not acting to the best of its ability to comply
     with a request for information from the administering
     authority or the Commission, the administering authority or
     the Commission (as the case may be), in reaching the
     applicable determination under this subtitle-- (A) may use
     an inference that is adverse to the interests of that party in
     selecting from among the facts otherwise available; and (B)
     is not required to determine, or make any adjustments to, a
     countervailable subsidy rate or weighted average dumping
     margin based on any assumptions about information the
     interested party would have provided if the interested party
     had complied with the request for information.

19 U.S.C § 1677e(b) (emphasis added). The Courts have held,

“{c}ompliance with the ‘best of its ability’ standard is determined by

assessing whether the respondent puts forth its maximum effort to

provide Commerce with full and complete answers to all inquiries in an

investigation” Guizhou Tyre Co., Ltd. v. United States, 348 F.Supp.3d

1261, 1270 (Ct. Int’l Trade 2018).



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     The best of its ability standard also does not require perfection.

The standard “does not condone inattentiveness, carelessness, or

inadequate record keeping,” but it also “does not require perfection and

recognizes that mistakes sometimes occur.” Nippon Steel Corp. v.

United States, 337 F.3d 1373, 1382 (Fed. Cir. 2003). The Department

also “may not…characterize a party’s failure to provide information

that does not exist as a ‘refusal’ to provide data.” AK Steel Corp. v.

United States, 21 C.I.T 1204, 1223 (1997).

     Moreover, the question of whether a respondent has cooperated to

the “best of its ability” is case-specific, and an AFA rate is not based on

the conduct of a “hypothetical, well-resourced respondent.” Nat'l Nail

Corp. v. United States, 390 F. Supp. 3d 1356, 1373 (June 12, ,2019).

“{A} reviewing court must be able to conclude that Commerce looked at

the respondent's ability to comply as well as its performance in

complying.” Id. “An adverse inference may not be drawn merely from a

failure to respond, but only under circumstances in which it is

reasonable for Commerce to expect that more forthcoming responses

should have been made; i.e., under circumstances in which it is




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reasonable to conclude that less than full cooperation has been shown.”

Nippon Steel Corp. 337 F.3d at 1383.

     Even where Commerce properly finds the respondent failed to act

to the best of its ability and that, therefore, an adverse inference can be

drawn, Commerce has a continuing obligation to balance the statutory

objective of finding an accurate dumping margin with the goal of

inducing compliance. See F.lli De Cecco Di Filippo Fara S. Martino

S.p.A. v. United States, 216 F.3d 1027, 1032 (Fed. Cir. 2000); Chia Far

Indus. Factory Co., Ltd. v. United States, 343 F. Supp. 2d

1344, 1366 (Ct. Int'l Trade, 2004). Commerce's discretion is not

unbounded and it must consider whether the assigned rate creates an

overly punitive result. See Chia Far Indus. Factory Co., 343 F. Supp. 2d

at 1366. Commerce has provided no such analysis here.

     Commerce must also explain why adjusting the data based on

partial facts available or partial adverse facts available would not have

been a sufficient remedy. The Court has previously recognized that

“{t}he facts available statute is designed to reach a reliable margin,

even in the face of an uncooperative respondent.” Ferro Union, Inc. v.

United States, 23 C.I.T. 713, 721 (1999). The Court has found the use


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of partial adverse facts available appropriate where a respondent only

failed to provide information in one respect and that, in such cases, the

use of only partial adverse facts available is more likely to be an

accurate reflection of the company's sales than other information. Id.

The Court has held that the use of total adverse facts available was not

permissible where there was usable information on the record.

      Although the statute provided for a picking-and-choosing process,
      this Court has sustained Commerce's use of total adverse facts
      available where (1) the record contained no usable information for
      core components of Commerce's dumping analysis (as where the
      respondent simply did not answer the questionnaire) and (2)
      substantial evidence showed that the respondent was egregious in
      its failure or refusal to comply with Commerce's requests for
      information (as where the respondent concealed information
      requested by Commerce). (citations omitted). Where, on the other
      hand, some of the information could be used, or the deficiency was
      only “with respect to a discrete category of information,” and a
      respondent is found not to have complied to the best of its ability,
      the use of “partial adverse facts available” is directed by the
      statute. (citation omitted).

Nat'l Nail Corp., 390 F.Supp.3d at 1375.

      In this, case Commerce should have considered alternatives to total AFA,

including the use of partial facts available, with or without an adverse inference.

Unlike most cases, Commerce was dealing with multiple small retailers with

unsophisticated accounting systems and a very large number of sales. Moreover,

the scope of the investigation covered cabinets, vanities, and components with

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innumerable variations that made it unusually difficult to group products in the

Department’s CONNUMs. Given the difficulties, Meisen and the J&K companies

cooperated to the best of their ability in this investigation. Given these limitations,

it is unreasonable for Commerce to require the level of perfection that it has

required of Meisen and resort to total AFA when that level of perfection cannot be

satisfied.


       B. Commerce Should Have Issued a Supplemental ILVQ

       Many of the issues raised by Commerce above would have been

handled differently during an on-site verification where there is an

interaction between Commerce and the company officials. In an in-

person verification, questions and follow-up questions would have been

raised verbally and answers would have been provided along with

supplemental documentation if needed. Since Commerce switched to

written verification questionnaires during the pandemic, such

interaction is no longer possible and Commerce has apparently refused

to issue supplemental verification questionnaires, at least to Meisen.

This procedure, however, is contrary to the statute, which provides the

following

       {i}f the administering authority ... determines that a
       response to a request for information under this subtitle
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     does not comply with the request, the administering
     authority ... shall promptly inform the person submitting the
     response of the nature of the deficiency and shall, to the
     extent practicable, provide that person with an opportunity
     to remedy or explain the deficiency in light of the time limits
     established for the completion of ... reviews under this
     subtitle.

19 U.S.C. § 1677m(d). The courts have previously held that this

statutory requirement is not ambiguous. China Kingdom Imp. & Exp.

Co. v. United States, 31 C.I.T. 1329, 1344–45 (2007). The courts will

not endorse “an investigation where {Commerce} sent out a general

questionnaire and a brief deficiency letter, then effectively retreated

into its bureaucratic shell, poised to penalize {respondent} for

deficiencies not specified in the letter that {Commerce} would only

disclose after it was too late, i.e., after the preliminary determination.”

Bowe–Passat v. United States, 17 CIT 335, 343 (1993) (“…the review

process is bilateral and interactive. The party must be afforded a

reasonable opportunity, however, to meet its burden and to satisfy

evidentiary concerns known only by the ITA staff.”); Usinor Sacilor v.

United States, 19 CIT 711, 745, 893 F.Supp. 1112, 1141–42 (1995) , aff'd

in part and rev'd in part, 1999 WL 641231 (Fed.Cir. Aug. 24, 1999)

(Commerce failed to notify plaintiff that it lacked necessary information


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to assess likely effects of subsidy program in countervailing duty case;

plaintiffs not aware of deficiency until issuance of final results).

     In this case, Commerce issued a questionnaire to Meisen but

declined to issue any follow-up questions or inform Meisen of any

deficiencies in its response. Such a procedure is not in accordance with

the statute or this Court’s prior decisions. As a result, the Court should

remand the issue to Commerce again to give Meisen a fair opportunity

to obtain a company specific margin calculated using the voluminous

amount of information that Meisen placed on the record of this case.


     C. Commerce Erred in finding that Meisen Failed to Provide
        Requested Source Documents

     Commerce’s characterization of the substantial documentation

placed on the record as a “failure” is not supported by the record.

Meisen and its U.S affiliates placed, not a handful of pages on the

record, but over 5000 pages of documentation in just the ILVQR. In

Lieu of Onsite Verification Questionnaire Response, dated March 9,

2022 (RCD 156-329, RPD 37), Appx__. The total amount of information

placed on the record throughout the investigation and remand is far

greater.


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     Commerce claims that Meisen failed to provide source

documentation to support the J&K GA and J&K IL reconciliations.

Commerce’s main complaint seems to be that the companies provided

excel files instead of screenshots from its accounting system as

requested in the questionnaire. See e.g. Final Remand results at 15, 21,

and 23. However, the excel files were in fact extracts from Quickbooks,

the accounting system used by the companies. See In Lieu of Onsite

Verification Questionnaire Response, dated March 9, 2022 at Exhibit

SVE-4 (Step 1B). (RCD 156-329, RPD 37), Appx__. Given that it was

providing such extracts, Meisen reasonably believed that there was no

need for the companies to also submit a screenshot of the computer

screen which could only show parts of the information in the excel files.

     That is the source documentation that is maintained in the

normal course of business and Meisen cooperated to the best of its

ability in attempting to respond to the Department’s verification

questionnaire in the limited time allotted. The J&K Companies are not

a multi-national steel or manufacturing facility. They are effectively

seventeen different “Mom & Pop” enterprises that use accounting

software for small enterprises because (1) it is easy to operate; and (2) it


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allows files to be extracted to Excel which is a familiar software for even

those individuals without an accounting or financial background. To

the extent that Meisen added additional cells and formulas to the excel

file, it was merely to ensure that the Department understood Meisen’s

calculations. The fact that Meisen provided such extracts instead of

simply screen shots is not a failure that rises to the level of justifying

total adverse facts available

     With respect the above and to the other source document

complaints by Commerce, Meisen believed that it had provided all

source documentation that was available in its normal course of

business. As argued further below, to the extent that the Department

needed additional information or alternative information, it was

required to issue a supplemental questionnaire under the statute,

regardless of the fact that the information was provided in an

verification questionnaire. Had these issues arisen in an on-site

verification, Commerce’s concerns would have been expressed verbally

to the companies and they would have had the opportunity to provide

Commerce with the documents it wanted.




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     D. The Alleged Errors Identified by Commerce Do Not Justify the
        Application of Total AFA

  Commerce also complains about various errors in the sales database

provided by Meisen with respect to certain fields. Final Remand

Results at 28. As shown below, these errors did not justify the

application of total AFA, either alone or in combination. These errors

have to be considered in light of the unsophisticated accounting system

employed by Meisen’s U.S. affiliates and the number of sales that they

had to report. Meisen and the J&K Companies reported information for

over [547,000] individual U.S. sales in as accurate a manner as possible.

Supplemental Section C Questionnaire Response, dated August 28,

2019, at U.S, Sales Database (CD 1197-1225, PD 1164), Appx__. In

light of these limitations, Meisen cooperated to the best of its ability.

Even to the extent that the errors constituted a significant portion of

the sample, Commerce does not establish that any errors resulted in a

lower dumping margin than otherwise would have been calculated or

benefited Meisen in any way.




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  1.         Sales Terms

       Commerce found that Meisen failed to provide documentation to

demonstrate the accuracy of the reported sales terms for five of the six

sales traces provided in its ILVQR. Final Remand Results at 30.

Contrary to the Department’s assertions, Meisen provided all source

documentation for sales terms that was available in its normal course of

business for the six sales traces. Furthermore, Commerce should have

requested additional information if it did not understand the

information submitted in the ILVQR. As an example, Commerce states

that it is was “not clear how the packing slip demonstrates the sales

terms or how other sales documents provide any insight into the sales

terms of this transaction (e.g., the sales invoice contains a “pick up

date” and a “ship” date and they are the same).” Final Remand Results

at 30. The Department could have asked additional questions as it no

doubt would have at an on-site verification.

       Moreover, as explained in Meisen’s comments on the draft remand

redetermination, the five sales traces that the Department found to

have insufficient supporting documentation represent only [0.0015%] of

the total sales quantity. Comments on the Draft Remand


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Redetermination, dated May 16, 2022 at 13 (RCD 350, RPD 66),

Appx__. It was inappropriate to apply AFA to all U.S. sales on the basis

of this negligible quantity of sales. This minute portion of sales with

errors cannot be said to have tainted the whole sales database. Nor

does Commerce establish that any errors resulted in a lower dumping

margin or in any way benefited Meisen.


     2.    Destination

     Commerce states that there were errors in the reported

destination for four of the six stales traces and one of the three

CONNUM specific reconciliations. Final Remand Results at 35.

Meisen provided all of the requested source documentation for the

reported destination that was available in its normal course of business

for the six sales traces and the three CONNUM-specific product

reconciliation traces. Moreover, for some of the sales traces with

inconsistent zip codes, the different zip codes still belong to the same

region of the U.S. for purpose of differential pricing, and therefore, has

no impact on the results of differential pricing analysis. Final Remand

Results at 35-37. The sales that impact the differential pricing

analysis represent a small percentage of the total sales quantity.

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Comments on the Draft Remand Redetermination, dated May 16, 2022

at 14 (RCD 350, RPD 66), Appx__. Again, a trivial difference is no

reason to apply AFA to all U.S. sales nor does Commerce establish that

any errors resulted in a lower dumping margin or in any way benefited

Meisen.

     3.    Purchaser

     Commerce complains that Meisen only notified it of how it

developed its list of consolidated customer codes in the ILQV but does

not explain how else Meisen could have developed such a list given that

it had numerous affiliated companies with a large number of customers

and limited knowledge of which of those customers might be affiliated.

Commerce merely requested that Meisen report consolidated customer

names and codes, “ensuring that each customer is assigned only one

discrete code”. Final Remand Results at 39. It did not instruct Meisen

on how to develop such a list under the circumstances. Such errors can

and do occur simply due to the overwhelming volume of data that had to

be compiled and reported during the course of this proceeding nor does

Commerce establish that any errors resulted in a lower dumping

margin or in any way benefited Meisen.


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.    4.    Product Characteristics

     Commerce claims that Meisen reported incorrect product

characteristics for two of the four sales traces and one of the three

CONNUM-specific reconciliations. Final Remand Results at 43.

However, as Meisen explained, its CONNUM reporting methodology

was reasonable. Commerce seems to assume that products as complex

and variable as a cabinet, vanity, or components can be neatly fit into

its limited number of product characteristics. But Meisen fully and

reasonably explained why this was not possible. Commerce argues

that Meisen should have contacted Commerce for instructions, but it is

simply not realistic for Meisen to contact Commerce and wait for a reply

for each and every product where there are complications given the

sheer number of product variations and the limited time available to

respond to the questionnaires.

     As Meisen explained, with respect to sales trace 4, the

Department requested that Meisen report this product with the

CONNUMU of the product imported, not the product sold. This product

consisted of a custom-made and further manufactured hood product.

However, Commerce assumes that that this custom-made product


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which was assembled after importation could be directly linked to an

imported product or related product during the POI, an assumption

that is not valid because there was no need for Meisen to track such

products in the normal course of business. As explained in the ILVQR,

J&K NJ never imported this product but instead custom assembled the

product using pieces from other cabinets with leftover side-panels and

parts from damaged products that were imported well before the POI.

See ILVQR at 15. Given these facts, Meisen believes it was appropriate

and reasonable to report the CONNUM of the closest product with

similar characteristics, which is the hood itself. This reasonable

approach is hardly a failure to cooperate. Commerce again suggests

that Meisen should have contacted Commerce for instructions. Final

Remand Results at 116. However, even in the final remand results

after having several weeks to consider the issue, Commerce states that

“{t}his is a complicated fact pattern, and we cannot at this late stage of

the proceeding determine the precise way in which Meisen should have

reported this information for this specific transaction, or even whether

it was appropriate to even report this as a sale of Meisen’s merchandise

at all.” Final Remand Results at 116.


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     With respect to sales trace 5, the customer purchased only the

[frame of the cabinet] for this transaction but was [charged for the

whole cabinet at the time of sale]. See ILVQR at 15. Due to the

Department’s specific instructions when preparing the CEP response to

include the specifics of the merchandise actually shipped, the

information was populated in the CEP database using the physical

characteristics of a comparable product. Id. The Department

acknowledges that it did not identify product characteristic coding

options applicable to the [frame of a cabinet]. See Draft Remand

Redetermination at 42. Nevertheless, the Department claims that the

Meisen should have notified Commerce of this issue or created a new

product code itself as it did with the surface coating of certain products.

Id. However, a comparable product existed and Meisen believes it was

reasonable to use the CONNUM of that matching product. Moreover,

even accepting that this was an error, the percentage impact would be

minor and insignificant and should not serve as the bases of the

application of total AFA.

     With respect to CONNUM Trace 3, Commerce states that Meisen

reported the product characteristics of the further manufactured


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product and not the imported product. Final Remand Results at 119.

Given the actual facts surrounding this sale, Meisen and the J&K

companies continue to believe that they reported the most appropriate

CONNUM under the circumstances to reflect the product

characteristics of a product produced and imported that would match

the final product sold. Final Remand Results at 119. Moreover, even

accepting that this was an error, the percentage impact would be minor

and insignificant and should not serve as the bases of the application of

total AFA. Nor does Commerce establish that any errors resulted in a

lower dumping margin or in any way benefited Meisen.

     These are the type of issues that Commerce would have raised and

Meisen would have explained at an in-person verification. It is

noteworthy that Commerce accepted the explanation provided by

Meisen in its comments on the draft remand results with respect to the

product characteristics for CONNUM-reconciliation two. Final Remand

Results at 115.




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     5.    Entered Values

     Commerce questions the accuracy and completeness of Meisen and

J&K’s reported entered values. Final Remand Redetermination at 50.

First, to put the importance of any errors in perspective, the entered

values in an original investigation are not used to calculate importer

specific assessment rates. See 19 U.S.C. §1677a. The entered values in

an original investigation are used to calculate certain price adjustments

but minor differences in the entered value would not have a substantive

impact on the price adjustments for warranty expenses, U.S. customs

duty, Section 301 duties, and inventory carrying costs because each of

those variables are already based upon an allocation methodology and

are never based upon a single invoice or line-item specific fixed

amount.

     Meisen acted to its best ability in reporting accurate entered

values on the U.S. database which were used by Commerce to calculate

these price adjustments. The J&K Companies do not track and

correlate the imported product on a transaction specific basis to the

product that is sold to the individual J&K Companies’ unaffiliated

customers. See Meisen’s Letters, REM 21-158 Third Supplemental Section C


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Questionnaire, dated January 11, 2022 at 49-50 (RCD 3-19, RPD 11), Appx__.

This is not information that is maintained in its QuickBooks systems

but had to be manually populated by each J&K entity separately and

individually. See REM 21-158 Fourth Supplemental Section C Questionnaire,

dated February 14, 2022 at Exhibit R2C2 (RCD 100-127, RPD 28-29), Appx__.

The larger question is whether any such errors had a material effect on

the ability of Commerce to calculate an accurate dumping margin. In

this case the answer to that is a resounding “no.”



      6.    Further Manufacturing Expenses

      Commerce contends that Meisen did not accurately report further

manufacturing expenses. Final Remand Results at 54. Meisen acted to

the best of its ability in reporting accurate further manufacturing

expense on the U.S. database. The two sales traces that the Department

identified that should have further manufacturing expenses reported

represent only a small percentage of the total sales quantity and cannot

be used to indicate that the whole database is by extension inaccurate

nor does Commerce establish that any errors resulted in a lower

dumping margin or in any way benefited Meisen. It is thus


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inappropriate for the Department to apply AFA to all U.S. sales based

upon such an error.



     7.    Date of Shipment

     Commerce claims that Meisen incorrectly reported the shipment

date for one of the six sales traces. Final Remand Results at 54. Even

if true, this is hardly sufficient reason to impose adverse facts available.

Nor did Commerce allow Meisen to explain its reporting methodology or

why it chose the date of sale as the shipment date. Again, if this had

been an on-site verification, Commerce could have verbally informed

Meisen of the issue and given it an opportunity to explain. Nor does

Commerce establish that any errors resulted in a lower dumping

margin or in any way benefited Meisen. Absent an on-site verification,

Commerce should have followed the requirements of the statute at 19

U.S.C. 1677m(d) and issued a supplemental questionnaire.


     8.    Freight Expenses

     Commerce claims that Meisen failed to report transaction-specific

freight expenses. Final Remand Results at 92. Considering the time

limitations and the limitations of the J&K Companies’ accounting

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systems, it was not reasonable to require Meisen to report transaction-

specific inbound freight expenses, nor would it have been possible for

Meisen to report these expenses on a transaction-specific basis. In light

of these facts, it was reasonable for Meisen to resort to an allocation

methodology. There simply were no books and records upon which to

base such a report. Nor does Commerce establish that any errors

resulted in a lower dumping margin or in any way benefited Meisen.


     9.    Affiliates

     Commerce claims that Meisen failed to report all of its affiliates

during the period of investigation. Final Remand Results at 57.

Commerce claims that Meisen failed to report at least one company [51

Frost Streets Associates, LLC] and failed to disclose “potentially

significant transactions with J&K NY’s largest U.S. customer, [Home

Cabinets Ltd. (Home Cabinets)]…” Id. This conclusion once again is

based on new factual information that Commerce put on the record

after verification and about which Commerce never addressed any

specific questions to Meisen.

     With respect to [51 Frost Street], the property was an investment

by the individual that owned one of Meisen’s U.S. affiliates, [J&K Three

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Ltd.]. Meisen’s Letter, “Comments on New Factual Information,” dated

April 6, 2022 at 13 (RCD 343-346, RPD 54), Appx__. Moreover, Meisen

and the J&K Companies have already shown the fact that [J&K Three

LTD] was not involved in the sale of the merchandise under

investigation during the POI and that it did not have sales during the

POI as it was a holding company. Id. at Exhibit NFI-16. The failure to

report this affiliate sooner was clearly a minor oversight resulting from

the fact that the company was not involved in the sale of subject

merchandise. Furthermore, Commerce has not established how this

oversight in any way affected the dumping calculations.

     With respect to [Home Cabinet], Commerce only claims that it

“could be another unreported J&K Company (or an affiliate)…” Final

Remand Results at 66. Commerce cannot, however, base such a drastic

punishment, total AFA, on supposition or conjecture about what “could”

be the case. Commerce should have asked for additional information or

explanations rather than simply placing factual information on the

record and then turning around and using that information to make a

supposition to support the application of total AFA.




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                            CONCLUSION


      Thus, for these reasons, we respectfully request that the Court

remand the case to Commerce for reconsideration to correct for errors

raised in this brief.


                                 Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     Pursuant to Chamber Procedure 2(B)(2), the undersigned certifies

that this submission complies with the word limitation requirement.

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